Case 2:17-cv-00067-JRG-RSP Document 22 Filed 05/15/18 Page 1 of 2 PageID #: 76




                         THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

  DISPLAY TECHNOLOGIES, LLC,

                          Plaintiff,
                                                        Civil Action No. 2:17-cv-00067
                 v.
                                                         JURY TRIAL DEMANDED
  BLU PRODUCTS, INC.

                         Defendant.

                                STIPULATION OF DISMISSAL

       IT IS HEREBY STIPULATED AND AGREED by the undersigned counsel for Plaintiff

Display Technologies, LLC (“Display”) and Defendant Blu Products, Inc. (“Blu”), pursuant to

Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, to dismiss all claims and counterclaims

WITH PREJUDICE, with each party to bear its own costs and attorneys’ fees.

Dated: May 15, 2018                                  Respectfully submitted,


                                                     /s/ Thomas C. Wright
                                                     Thomas C. Wright
                                                     Texas Bar No. 24028146
                                                     Alex J. Whitman
                                                     Texas Bar No. 24081210
                                                     Cunningham Swaim, LLP
                                                     7557 Rambler Road, Suite 400
                                                     Dallas, TX 75231
                                                     Telephone: (214) 646-1495
                                                     Fax: (214) 613-1163
                                                     twright@cunninghamswaim.com
                                                     awhitman@cunninghamswaim.com

                                                     ATTORNEYS FOR PLAINTIFF
                                                     DISPLAY TECHNOLOGIES, LLC


                                                     -and-
Case 2:17-cv-00067-JRG-RSP Document 22 Filed 05/15/18 Page 2 of 2 PageID #: 77




                                                    /s/ Isaac S. Lew
                                                    Bernard L. Egozi (Florida Bar No. 152544)
                                                    Isaac S. Lew (Florida Bar No. 92833)
                                                    EGOZI & BENNETT, P.A.
                                                    2999 NE 191 Street, Suite 407
                                                    Aventura, Florida 33180
                                                    Phone: 305-931-3000
                                                    Facsimile: 305-931-9343
                                                    begozi@egozilaw.com
                                                    ilew@egozilaw.com

                                                    ATTORNEYS FOR DEFENDANT BLU
                                                    PRODUCTS, INC.

                                CERTIFICATE OF SERVICE

         I hereby certify that all counsel of record who have consented to electronic service are
 being notified of the filing of this document via the Court’s CM/ECF system per Local Rule CV-
 5(a)(3) on this 15th day of May, 2018.

                                                    /s/ Thomas C. Wright
                                                    Thomas Wright
